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           EXHIBITS 145-146
            [Filed Under Seal]
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                  EXHIBIT 147




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      Paula Levand                                            Makaeff v. Trump University
                                                                                Page 1
·1· · · · ·UNITED STATES DISTRICT COURT OF CALIFORNIA

·2· · · · · FOR THE SOUTHERN DISTRICT OF CALIFORNIA

·3

·4·   ·TARLA MAKAEFF, BRANDON· · · ·)
· ·   ·KELLER, ED OBERKROM and· · · )
·5·   ·PATRICIA MURPHY, on behalf· ·)
· ·   ·of themselves and all others )
·6·   ·similarly situated,· · · · · )
· ·   · · · · · · · · · · · · · · · )
·7·   · · · · · · · ·Plaintiffs,· · )· Index No.
· ·   · · · · · · · · · · · · · · · )· 3:10-CV-00940-CAB
·8·   · · · · ·VS.· · · · · · · · · )
· ·   · · · · · · · · · · · · · · · )
·9·   ·TRUMP UNIVERSITY, LLC, (AKA· )
· ·   ·TRUMP ENTREPRENEUR· · · · · ·)
10·   ·INITIATIVE), a New York· · · )
· ·   ·Limited Liability Company,· ·)
11·   ·DONALD TRUMP, and DOES 1· · ·)
· ·   ·through 50, inclusive,· · · ·)
12·   · · · · · · · · · · · · · · · )
· ·   · · · · · · · ·Defendants.· · )
13·   · · · · · · · · · · · · · · · )
· ·   ·_____________________________)
14

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16

17· · · · · · · · ·DEPOSITION OF PAULA LEVAND

18· · · · · · · · · Los Angeles, California

19· · · · · · · · · ·Monday, June 17, 2013

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21

22

23

24· ·Reported by:· NIKKI ROY
· · ·CSR No. 3052
25· ·Job No.: 10006477



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Paula Levand                                                                              Makaeff v. Trump University
                                                      Page 70                                                              Page 71
·1·   · · · Q.· ·So he said he was calling regarding Trump      ·1·   · · · A.· ·I don't recall anything else.
·2·   ·Initiative?                                              ·2·   · · · Q.· ·So did he tell you that's why he was calling
·3·   · · · A.· ·Yeah, Trump Entrepreneur Initiative or Trump   ·3·   ·you?
·4·   ·Entrepreneur Initiative, the new -- the new name.        ·4·   · · · A.· ·He didn't say that's why he was calling me.
·5·   · · · Q.· ·Was that the first time you'd heard that       ·5·   · · · Q.· ·Had you ever spoken to Mark before?
·6·   ·name?                                                    ·6·   · · · A.· ·Yes.
·7·   · · · A.· ·No.                                            ·7·   · · · Q.· ·When?
·8·   · · · Q.· ·So did he --                                   ·8·   · · · A.· ·I don't have that information.
·9·   · · · A.· ·But not the name.                              ·9·   · · · Q.· ·What's your best estimate of when?
10·   · · · Q.· ·Did he tell you why he was calling from        10·   · · · A.· ·I don't have -- when I was active in -- in
11·   ·Trump Entrepreneur Initiative?                           11·   ·Trump Initiative, he was the person I -- I can't
12·   · · · A.· ·I don't recall him saying.                     12·   ·remember even his role, but he's been there.· And I
13·   · · · Q.· ·So as best you can recall, he said he's        13·   ·think maybe the Webinars.· I'm not sure.
14·   ·calling regarding Trump Entrepreneur Initiative?         14·   · · · Q.· ·Do you recall approximately how many
15·   · · · A.· ·Yes.                                           15·   ·times --
16·   · · · Q.· ·And then you told him you had received calls   16·   · · · A.· ·No.
17·   ·regarding Trump --                                       17·   · · · Q.· ·-- you had talked to him prior to this call?
18·   · · · A.· ·University.                                    18·   · · · A.· ·No.
19·   · · · Q.· ·-- University?                                 19·   · · · Q.· ·Do you recall whether it was more than ten?
20·   · · · · · ·What, if anything, was his response?           20·   · · · A.· ·I don't recall.
21·   · · · A.· ·I believe he said that there were calls made   21·   · · · Q.· ·Could it have been more than ten?
22·   ·by the -- a class action regarding, you know, making     22·   · · · A.· ·I don't believe so.
23·   ·calls on people that have written declarations.          23·   · · · Q.· ·Do you recall if you spoke with him over the
24·   · · · Q.· ·What else, if anything, did he tell you        24·   ·phone previously?
25·   ·about those calls?                                       25·   · · · A.· ·Yes.
                                                      Page 72                                                              Page 73
·1·   · · · Q.· ·Do you recall whether you exchanged e-mails    ·1·   ·BY MR. FORGE:
·2·   ·with him previously?                                     ·2·   · · · Q.· ·Regarding the two other calls that we've
·3·   · · · A.· ·I don't recall.                                ·3·   ·been talking about, the actual substantive
·4·   · · · Q.· ·Do you recall whether you'd ever               ·4·   ·conversations, did you draw a distinction between the
·5·   ·communicated with him previously about the class         ·5·   ·caller saying regarding Trump University or calling
·6·   ·action case?                                             ·6·   ·from Trump University?
·7·   · · · A.· ·I didn't call -- talk to him about the class   ·7·   · · · · · ·MR. LUSBY:· Objection; misstates prior
·8·   ·action case at all until this.                           ·8·   ·testimony.· I don't think it's been testified as
·9·   · · · Q.· ·And as best you can recall, Mark said when     ·9·   ·to -- that there's any testimony as to what they said
10·   ·he -- when you first answered, that he was calling       10·   ·in that regard.
11·   ·regarding Trump Entrepreneur Initiative?                 11·   · · · · · ·MR. FORGE:· That's why I'm asking.
12·   · · · A.· ·Yes.· This is Mark.· This is Mark from Trump   12·   · · · · · ·MR. LUSBY:· Let's rephrase the question.
13·   ·Entrepreneur Initiative, is what he said.                13·   ·Are you asking if they did identify themselves by
14·   · · · Q.· ·Did he say from Trump Entrepreneur             14·   ·either method?
15·   ·Initiative or regarding Trump Entrepreneur               15·   ·BY MR. FORGE:
16·   ·Initiative?                                              16·   · · · Q.· ·In those previous calls that we've been
17·   · · · A.· ·I don't recall the exact words.                17·   ·discussing, the one from late December and then the
18·   · · · Q.· ·Do you draw a distinction between those two?   18·   ·one from the earlier part of this year, did the
19·   · · · A.· ·I guess if I really thought about it.          19·   ·caller say on -- let's start with the first one.· Did
20·   · · · Q.· ·But you didn't?                                20·   ·the caller tell you at some point during that
21·   · · · A.· ·No.                                            21·   ·conversation that she was calling regarding Trump
22·   · · · Q.· ·Okay.· Regarding those other calls, did you    22·   ·University?
23·   ·think about the distinction between calling --           23·   · · · A.· ·Possibly regarding Trump University.· She
24·   · · · · · ·MR. LUSBY:· Objection; ambiguous.              24·   ·could have said regard, she could have said from
25·   · · · · · ·What other calls?                              25·   ·Trump University.· All I -- it was --

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·1·   · · · · · ·MR. LUSBY:· Do you recall exactly what she     ·1·   · · · Q.· ·I'm sorry?
·2·   ·said?                                                    ·2·   · · · A.· ·A bachelor of science from Oregon State
·3·   · · · · · ·THE WITNESS:· No.                              ·3·   ·University.
·4·   ·BY MR. FORGE:                                            ·4·   · · · Q.· ·Are those the Beavers or -- those are the
·5·   · · · Q.· ·Okay.· The same thing for the second           ·5·   ·Beavers, not the Ducks, right?
·6·   ·conversation, the one that was actually a real           ·6·   · · · A.· ·You're right.
·7·   ·substantive conversation.· Did the caller say calling    ·7·   · · · Q.· ·Do you also have a master's?
·8·   ·regarding Trump University?                              ·8·   · · · A.· ·Yes.· A master's in school counseling from
·9·   · · · A.· ·You know what, I don't recall.                 ·9·   ·LaVerne University.
10·   · · · Q.· ·So it could have been regarding, it could      10·   · · · Q.· ·I understand you were a teacher for 35
11·   ·have been from, it could have been something else?       11·   ·years?
12·   · · · A.· ·It could have been regarding, it could have    12·   · · · A.· ·Correct.
13·   ·been from, it could have been something else.            13·   · · · Q.· ·In multiple school systems or one?
14·   ·Whatever it was it just I'm calling, it could have       14·   · · · A.· ·One.· One for 34 years and another one for a
15·   ·been in regard.                                          15·   ·year.
16·   · · · Q.· ·Now, Ms. Levand, could you just briefly tell   16·   · · · Q.· ·Which one was the 34?
17·   ·me your post high school education.                      17·   · · · A.· ·Canyon High School, William S. Hart School
18·   · · · A.· ·I -- post high school?                         18·   ·District.
19·   · · · Q.· ·Yes.                                           19·   · · · Q.· ·At some point over the past ten years, did
20·   · · · · · ·MR. LUSBY:· Your degrees and training after    20·   ·you want to learn about real estate?
21·   ·high school.                                             21·   · · · A.· ·Yes.
22·   · · · · · ·THE WITNESS:· Okay.                            22·   · · · Q.· ·Had you received some real estate
23·   · · · · · ·MR. LUSBY:· It's not a trick question.         23·   ·instruction prior to enrolling in Trump University?
24·   · · · · · ·THE WITNESS:· Oregon State University.         24·   · · · A.· ·Yes.
25·   ·BY MR. FORGE:                                            25·   · · · Q.· ·Through what programs?
                                                      Page 76                                                              Page 77
·1·   · · · A.· ·Trump Institute.                               ·1·   · · · · · ·THE WITNESS:· Do I have to answer it?
·2·   · · · Q.· ·How about anything prior to Trump Institute?   ·2·   · · · · · ·MR. LUSBY:· You're supposed to answer it.· I
·3·   · · · A.· ·No.                                            ·3·   ·don't think there's a legitimate objection to telling
·4·   · · · Q.· ·So had you ever taken any real estate          ·4·   ·him where you had other training.· It's really not
·5·   ·classes from any entities other than a Trump             ·5·   ·relevant.· I don't think he's going to be going after
·6·   ·affiliated entity?                                       ·6·   ·them.
·7·   · · · A.· ·No.                                            ·7·   · · · · · ·THE WITNESS:· Creative Wealth Academy was
·8·   · · · Q.· ·There weren't two other programs that you      ·8·   ·one.· And Dauby, Daubey [sic].
·9·   ·received from whom you received real estate              ·9·   · · · · · ·THE DEPOSITION OFFICER:· Spell, D-o --
10·   ·instruction?                                             10·   · · · · · ·THE WITNESS:· I -- you know what, I don't --
11·   · · · A.· ·No.                                            11·   ·Dauby, D-a-u-b-y or b -- you know, I can't remember
12·   · · · Q.· ·Did you ever receive real estate instruction   12·   ·now.
13·   ·from anything other than a Trump-related entity?         13·   ·BY MR. FORGE:
14·   · · · A.· ·Yes.                                           14·   · · · Q.· ·So there were two different ones?
15·   · · · Q.· ·When was that?                                 15·   · · · A.· ·They were two different ones.
16·   · · · A.· ·I don't recall the dates.· It was just         16·   · · · Q.· ·Regarding the Creative Wealth Academy
17·   ·after -- possibly 2010, 2011.                            17·   ·program, seminar, how would you like me to refer to
18·   · · · Q.· ·What program was that?                         18·   ·it?
19·   · · · A.· ·I'd rather not say.                            19·   · · · A.· ·It could be a program.
20·   · · · Q.· ·I understand.· But -- I apologize, but I       20·   · · · Q.· ·All right.· Regarding that program, what
21·   ·have to ask.· What program is that?                      21·   ·was -- what did it entail?
22·   · · · A.· ·I'd rather not say.· I -- I don't want you     22·   · · · A.· ·A mentorship and some Webinars.
23·   ·going after anybody else.                                23·   · · · Q.· ·What was the cost?
24·   · · · · · ·MR. LUSBY:· He's entitled to ask the           24·   · · · A.· ·I don't recall.
25·   ·question.                                                25·   · · · Q.· ·Can you ballpark it for me, what's your best

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                                                      Page 82                                                              Page 83
·1·   · · · A.· ·I signed up.· They said they were coming to    ·1·   · · · Q.· ·All right.· So the thing you attended in
·2·   ·Tracy.· Tracy's a very small town.· And so I thought     ·2·   ·Tracy was that Trump Institute or Trump University?
·3·   ·this was an opportunity and I should -- that I didn't    ·3·   · · · A.· ·Trump Institute.
·4·   ·want to miss.                                            ·4·   · · · Q.· ·From that you went to a workshop in Southern
·5·   · · · Q.· ·So did you go to whatever presentation was     ·5·   ·California?
·6·   ·at Tracy?                                                ·6·   · · · A.· ·Uh-huh.
·7·   · · · A.· ·Yes.                                           ·7·   · · · Q.· ·Where about?
·8·   · · · Q.· ·What happened at the Tracy presentation, was   ·8·   · · · A.· ·It was near the airport.
·9·   ·it a one-day thing?                                      ·9·   · · · Q.· ·LAX?
10·   · · · A.· ·It was just a few hours.· It was just an       10·   · · · A.· ·Uh-huh.
11·   ·introduction.                                            11·   · · · Q.· ·Okay.· So the first one, that thing in
12·   · · · Q.· ·Did they give you any other offers during      12·   ·Tracy, did you have to pay for that?
13·   ·that -- at any point in time during that Tracy           13·   · · · A.· ·No.· It was a free...
14·   ·presentation?                                            14·   · · · Q.· ·How about the workshop?
15·   · · · A.· ·Yes.· They also gave a tax lien --             15·   · · · A.· ·I'm sure I paid.· And don't ask me how much.
16·   · · · Q.· ·What does that mean?                           16·   ·I can't remember.
17·   · · · A.· ·-- workshop.                                   17·   · · · Q.· ·Fair enough.
18·   · · · Q.· ·Oh, okay.                                      18·   · · · · · ·Do you recall whether the workshop was one
19·   · · · · · ·So in the course of that day at Tracy, did     19·   ·day or more than one day?
20·   ·they offer any other programs?                           20·   · · · A.· ·It was two days.
21·   · · · A.· ·No.· Well, the - the program that if you --    21·   · · · Q.· ·Was the workshop Trump Institute or Trump
22·   ·actually, I can't remember.· I signed up for their       22·   ·University?
23·   ·program and I was -- I received a workshop.· I went      23·   · · · A.· ·It was not Trump University.· It was part of
24·   ·to a workshop in Southern California.· I was able to     24·   ·Trump Institute.
25·   ·go because I couldn't go to the one in Sacramento.       25·   · · · Q.· ·Now, at that point, what was your
                                                      Page 84                                                              Page 85
·1·   ·understanding of what Trump Institute was?               ·1·   · · · Q.· ·Which one?
·2·   · · · A.· ·I thought it was something that Trump was      ·2·   · · · A.· ·The one from Trump Institute.· And I
·3·   ·involved in.                                             ·3·   ·don't -- I can't remember his name.
·4·   · · · Q.· ·And is that -- was that -- did you view that   ·4·   · · · Q.· ·Was that your first mentor with any
·5·   ·as a plus?                                               ·5·   ·Trump-related entity?
·6·   · · · A.· ·Yes.                                           ·6·   · · · A.· ·Yes.
·7·   · · · Q.· ·Were you hoping that Donald Trump was not      ·7·   · · · Q.· ·So was that after the workshop?
·8·   ·involved on a day-to-day basis with Trump Institute?     ·8·   · · · A.· ·Yes.
·9·   · · · A.· ·I knew Donald Trump wasn't involved            ·9·   · · · Q.· ·And how much did the mentorship cost?
10·   ·day-to-day.                                              10·   · · · A.· ·It could have cost ten, 15.
11·   · · · Q.· ·You knew he wasn't?                            11·   · · · Q.· ·And that's thousand dollars?
12·   · · · A.· ·Correct.                                       12·   · · · A.· ·Yes.
13·   · · · Q.· ·How did you know that?                         13·   · · · Q.· ·Now, prior to that conversation with your
14·   · · · A.· ·I don't know.· I don't recall how I knew       14·   ·mentor, what was it about Trump's involvement with
15·   ·that.· I just knew it.· The people I was seeing and      15·   ·Trump Institute that you viewed as being a positive?
16·   ·talking to were not Donald Trump.                        16·   · · · · · ·MR. SCHNEIDER:· Objection; misstates
17·   · · · Q.· ·What was his level of involvement, as you      17·   ·testimony and assumes facts not in evidence.
18·   ·understood it, with Trump Institute?                     18·   · · · · · ·THE WITNESS:· Would you repeat your
19·   · · · A.· ·I was told that they paid his -- they paid     19·   ·question?
20·   ·him for his name.                                        20·   ·BY MR. FORGE:
21·   · · · Q.· ·Any other involvement beyond that?             21·   · · · Q.· ·Sure.· Prior to your conversation with your
22·   · · · A.· ·Not that I'm aware of.· The person that --     22·   ·mentor, what was it about Donald Trump's involvement
23·   ·well...                                                  23·   ·with Trump Institute that you viewed as being a
24·   · · · Q.· ·Who told you that they paid for his name?      24·   ·positive?
25·   · · · A.· ·I think it was my mentor.                      25·   · · · · · ·MR. SCHNEIDER:· Same objection.

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·1·   · · · · · ·THE WITNESS:· His reputation.                  ·1·   ·you call the mentorship where we were looking at
·2·   ·BY MR. FORGE:                                            ·2·   ·properties, making bids, were two different people.
·3·   · · · Q.· ·And what was his reputation as you             ·3·   · · · Q.· ·Okay.· We're talking about --
·4·   ·understood it to be?                                     ·4·   · · · A.· ·And this is Trump Institute.
·5·   · · · A.· ·He was a successful real estate person and     ·5·   · · · Q.· ·Sure.· We're talking about your first mentor
·6·   ·understood it, and he had quality programs.              ·6·   ·at Trump Institute, right?
·7·   · · · Q.· ·What made you think he had quality programs?   ·7·   · · · A.· ·Correct.
·8·   · · · A.· ·I -- other than the reputation that he's       ·8·   · · · Q.· ·That was your first mentor with any
·9·   ·been -- that's out there, he has quality programs.       ·9·   ·Trump-related entity, correct?
10·   ·The books I read what he's achieved.                     10·   · · · A.· ·Yes.· And the woman at Trump Institute gave
11·   · · · Q.· ·So prior to talking to your mentor how -- as   11·   ·me several books to read and assignments.
12·   ·you understood it, how were those achievements going     12·   · · · Q.· ·What I'm talking about is before you
13·   ·to translate into the real estate education?             13·   ·actually hooked up with this -- your first mentor.
14·   · · · · · ·MR. SCHNEIDER:· Objection; vague.              14·   ·Because it was that mentor who told you that Trump
15·   · · · · · ·MR. LUSBY:· Are you asking her if she          15·   ·Institute had simply purchased the rights to use --
16·   ·believed?· Because you're asking how before you've       16·   · · · A.· ·It was actually the --
17·   ·asked if.                                                17·   · · · Q.· ·-- Donald Trump's name, right?
18·   · · · · · ·MR. FORGE:· Sure.                              18·   · · · A.· ·-- it was actually the second person that
19·   · · · Q.· ·Did you understand that Donald Trump's         19·   ·did.
20·   ·success was going to have an impact on the               20·   · · · Q.· ·The second mentor?
21·   ·instruction you would receive from the Trump             21·   · · · A.· ·(No audible response.)
22·   ·Institute?                                               22·   · · · Q.· ·Is that a "yes"?
23·   · · · A.· ·Yes.· And I better qualify that the mentor     23·   · · · A.· ·They're part of one, yes.· The second part
24·   ·that I had in Trump Institute and the mentor I went      24·   ·of the one -- when you say second mentor, I didn't
25·   ·on with the -- on the live event, the live -- what do    25·   ·pay for anything -- anyone else.
                                                      Page 88                                                              Page 89
·1·   · · · · · ·MR. LUSBY:· The question pending is, what      ·1·   ·the players, the mentors, and the people that are
·2·   ·part of Donald Trump's reputation led her to sign up     ·2·   ·involved, the instructors.
·3·   ·for Trump Institute, paraphrasing?· Is that what         ·3·   · · · Q.· ·As an educator, obviously you've dealt with
·4·   ·we're trying to nail down so we can move on?· Perhaps    ·4·   ·principals before in high schools?
·5·   ·you should restate your question.                        ·5·   · · · A.· ·Correct.
·6·   · · · · · ·MR. FORGE:· Sure.· I just want to make sure    ·6·   · · · Q.· ·As a student, there were deans at your
·7·   ·we're on the same frame.                                 ·7·   ·colleges, correct?
·8·   · · · Q.· ·We're talking about an individual who was      ·8·   · · · A.· ·Correct.
·9·   ·your first mentor with the Trump-related entity,         ·9·   · · · Q.· ·Can you draw an analogy between your
10·   ·correct?                                                 10·   ·experiences with those types of --
11·   · · · A.· ·Correct.                                       11·   · · · A.· ·Donald Trump would have been the
12·   · · · Q.· ·Now, I think what you just said is it wasn't   12·   ·superintendent.
13·   ·that first individual.· It was the second individual     13·   · · · Q.· ·And when the mentor told you that Trump
14·   ·who told you about the fact that Trump Institute         14·   ·Institute simply purchased the name, the rights to
15·   ·simply purchased the right to use Donald Trump's         15·   ·use the Donald Trump name, was that one of the
16·   ·name; is that right?                                     16·   ·reasons why you switched to Trump University?
17·   · · · A.· ·Correct.                                       17·   · · · A.· ·Correct.
18·   · · · Q.· ·So prior to learning that information from     18·   · · · Q.· ·How did you learn about Trump University?
19·   ·the second mentor, what was your understanding as to     19·   · · · A.· ·I'm trying to think.· I believe I was given,
20·   ·Donald Trump's level of involvement with the Trump       20·   ·sent, I don't know if there was a flyer that was --
21·   ·Institute?                                               21·   ·that came through the mail or there was an e-mail,
22·   · · · A.· ·I thought he was involved.                     22·   ·but there was something, a program about Trump
23·   · · · Q.· ·Okay.· Meaning what to you?                    23·   ·University at Universal Studios, I believe.
24·   · · · A.· ·Well, he had -- when someone is involved,      24·   · · · Q.· ·Do you recall ever seeing any commercials or
25·   ·they're planning the -- they know who is -- who are      25·   ·videos relating to Trump University?

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·1·   · · · A.· ·When I went to the one-day start-up            ·1·   · · · · · ·(The document referred to was marked
·2·   ·introduction, free introduction that they have.          ·2·   · · · · · ·by the CSR as Deposition Exhibit 4 for
·3·   · · · Q.· ·Let me just --                                 ·3·   · · · · · ·identification and attached to the
·4·   · · · A.· ·The video.                                     ·4·   · · · · · ·deposition transcript hereto.)
·5·   · · · Q.· ·I'm going to play for you something.· I'm      ·5·   · · · · · ·(DVD Exhibit 4 being played.)
·6·   ·going to mark it as -- we'll mark this as Exhibit --     ·6·   ·BY MR. FORGE:
·7·   · · · · · ·MR. FORGE:· Where are we, four?                ·7·   · · · Q.· ·Ms. Levand, have you seen a video similar to
·8·   · · · · · ·MR. LUSBY:· I believe that's right.· 1, 1-A,   ·8·   ·that?
·9·   ·2 and 3.· Actually, did we introduce the second          ·9·   · · · A.· ·Similar to that, yes.
10·   ·declaration yet formally as three?                       10·   · · · Q.· ·And was that, the level of involvement
11·   · · · · · ·MR. FORGE:· I think we did three, yeah.        11·   ·described in that video, what you were looking for to
12·   · · · · · ·We'll mark this as four.· And just for the     12·   ·distinguish Trump University between Trump Institute?
13·   ·record, this is a -- the video itself is contained on    13·   · · · A.· ·I went -- yes.
14·   ·a CD or a DVD that was Exhibit 1 TU 123460 to the Eck    14·   · · · Q.· ·Mr. Trump mentioned during that video the
15·   ·declaration.                                             15·   ·presence of professors and adjunct professors.· Do
16·   · · · · · ·THE DEPOSITION OFFICER:· Can we go off the     16·   ·you -- what is the distinction in your mind between a
17·   ·record?                                                  17·   ·professor and an adjunct professor?
18·   · · · · · ·MR. FORGE:· Sure.                              18·   · · · A.· ·They're both experienced in what they were
19·   · · · · · ·(Off-the-record discussion.)                   19·   ·doing.· If there -- if they're a professor of a
20·   · · · · · ·MR. FORGE:· I certainly don't think you need   20·   ·particular university, they were coming over.· And an
21·   ·to transcribe it.                                        21·   ·adjunct professor would be someone that is hired
22·   · · · · · ·MR. SCHNEIDER:· I'm fine with that.            22·   ·part-time.
23·   ·BY MR. FORGE:                                            23·   · · · · · ·MR. LUSBY:· Visiting.
24·   · · · Q.· ·All right.· Let me just play the video, and    24·   · · · · · ·THE WITNESS:· Visiting.
25·   ·you can tell me if you recognize it.                     25·   · · · · · ·MR. FORGE:· Can we take a break real quick,
                                                      Page 92                                                              Page 93
·1·   ·please.                                                  ·1·   · · · Q.· ·So when you switched over to Trump
·2·   · · · · · ·(Recess from 11:25 a.m. to 11:32 a.m.)         ·2·   ·University, what was the first program in which you
·3·   ·BY MR. FORGE:                                            ·3·   ·enrolled?
·4·   · · · Q.· ·Ms. Levand, I should clarify, am I             ·4·   · · · A.· ·You know what, I'd have to go back to my
·5·   ·pronouncing your name, right?                            ·5·   ·record.· And I put it in the declaration.· The ones
·6·   · · · A.· ·Levand.                                        ·6·   ·that I signed up.· I mean, you get -- when you sign
·7·   · · · Q.· ·Levand.                                        ·7·   ·up for the Trump Elite, or whatever program that I
·8·   · · · · · ·One of the aspects of Trump University that    ·8·   ·did, you were given certain things.
·9·   ·Mr. Trump explained was that the people who would be     ·9·   · · · Q.· ·And do you recall, ballpark, of how much
10·   ·teaching it would be hand picked by him.                 10·   ·that first Trump University program cost?
11·   · · · · · ·Did you view that as a positive or a           11·   · · · A.· ·I believe it's in my declaration.· I don't
12·   ·negative?                                                12·   ·want to say it out loud.
13·   · · · A.· ·I viewed that as a positive.· Scary but        13·   · · · Q.· ·Okay.
14·   ·positive.                                                14·   · · · · · ·MR. LUSBY:· Ouch.
15·   · · · Q.· ·Why as a positive and why scary?               15·   ·BY MR. FORGE:
16·   · · · A.· ·He's very intelligent.· He's very              16·   · · · Q.· ·All right.· Let me just --
17·   ·knowledgeable in real estate.· Real estate is his        17·   · · · A.· ·I believe it was 25.
18·   ·love.· I didn't know.· And it's not my love.· I          18·   · · · Q.· ·Okay.· I don't think it's in there.· At
19·   ·didn't even know about it.· It was a new paradigm for    19·   ·least not the first one.
20·   ·me.                                                      20·   · · · A.· ·Okay.
21·   · · · · · ·So I was entering a field that -- when I say   21·   · · · Q.· ·Your best recollection is it was $25,000?
22·   ·scary, I'm saying -- intimidated, maybe, is a better     22·   · · · A.· ·Yes.
23·   ·word.· It was -- I'd have to read things more than       23·   · · · Q.· ·And what did you -- what was that, what did
24·   ·once to understand some of the stuff that I was given    24·   ·you receive for that?
25·   ·in Trump Institute.· It was new learning for me.         25·   · · · A.· ·I have it in the stuff I gave you.

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·1·   · · · Q.· ·Okay.                                          ·1·   · · · · · ·Well, it -- he did have hands-on.· I do
·2·   · · · A.· ·She was someone I really liked, that's all.    ·2·   ·feel -- I can't prove anything, but I -- he didn't
·3·   · · · Q.· ·And where was that?                            ·3·   ·say I'm Donald Trump.· I just thought I recognized
·4·   · · · A.· ·It was at the Quick Start seminar with Chris   ·4·   ·his voice.· And there were about three, four other
·5·   ·Goff.                                                    ·5·   ·people there I was talking to.
·6·   · · · Q.· ·Where?                                         ·6·   · · · Q.· ·And when you say he did have hands-on --
·7·   · · · A.· ·I believe it was in Southern California.       ·7·   · · · A.· ·It was a phone conference.
·8·   · · · Q.· ·Do you remember what city?                     ·8·   · · · Q.· ·When you said he did have hands-on, and I'm
·9·   · · · A.· ·No, I don't remember.                          ·9·   ·not trying to push, I just want to put a name to the
10·   · · · Q.· ·Quick start with Chris Goff?                   10·   ·pronoun, you're talking about Donald Trump?
11·   · · · A.· ·Chris Goff, G-o-f-f.                           11·   · · · A.· ·Yes.
12·   · · · Q.· ·Now, when she said the best person backing     12·   · · · Q.· ·Okay.· What made you think Donald Trump had
13·   ·you, I assume you meant Donald Trump?                    13·   ·hands-on?
14·   · · · A.· ·Yes.                                           14·   · · · A.· ·I heard his voice.
15·   · · · Q.· ·And how long after you submitted that,         15·   · · · Q.· ·In the call?
16·   ·whatever it is you wrote, did you have the conference    16·   · · · A.· ·Yes.
17·   ·call with Donald Trump?                                  17·   · · · Q.· ·Okay.· Did anybody refer to -- did anybody
18·   · · · A.· ·About a week and a half.                       18·   ·say Donald --
19·   · · · Q.· ·Did he call you or --                          19·   · · · A.· ·No.
20·   · · · A.· ·Well, it wasn't Donald Trump.· He wasn't --    20·   · · · Q.· ·-- or Mr. Trump?
21·   ·I wasn't having a conversation one-on-one.· It was --    21·   · · · A.· ·No.
22·   ·it was -- at the time I wrote it she said my -- my       22·   · · · Q.· ·So other than his voice, is there any reason
23·   ·boss, the person over me, will meet with you.· And       23·   ·why you believed he was on that conference call?
24·   ·you don't have to worry, this won't go to anywhere       24·   · · · A.· ·Just The Apprentice, how he was in the
25·   ·else.                                                    25·   ·boardroom.· And I never wanted to be in a boardroom.
                                                     Page 104                                                          Page 105
·1·   · · · Q.· ·Oh, you were in the boardroom?· You were in    ·1·   · · · Q.· ·I see.· So --
·2·   ·a boardroom with him as well?                            ·2·   · · · A.· ·And I had said that I'd asked my mentor, can
·3·   · · · A.· ·No.· I never wanted to be in a boardroom.· I   ·3·   ·we meet in Arizona?· And he had said, well, if you
·4·   ·felt like I was.                                         ·4·   ·want to meet in Arizona?· Why don't you come to
·5·   · · · Q.· ·Okay.· So when you say you felt like you       ·5·   ·Florida.· I know this market.· This is a good -- good
·6·   ·were in a boardroom, what do you -- I'm just trying      ·6·   ·place to invest.· Well, I had never been to Florida
·7·   ·to understand you.                                       ·7·   ·and it sounded exciting to me.
·8·   · · · A.· ·Well, there were more than one person.· And    ·8·   · · · Q.· ·So is this a conversation that took place
·9·   ·I was -- they were asking me about my -- what I had      ·9·   ·after you had sold that property or?
10·   ·written, which I was comfortable with what I wrote       10·   · · · A.· ·Not after.· It was -- it was in --
11·   ·being accurate.                                          11·   · · · · · ·MR. LUSBY:· Ongoing.
12·   · · · Q.· ·Did the person who you thought was Donald      12·   · · · · · ·THE WITNESS:· Ongoing.· It was rehabbed, the
13·   ·Trump address your concerns during that call?            13·   ·situation.
14·   · · · A.· ·You know, it was more like he made a comment   14·   ·BY MR. FORGE:
15·   ·or something.· I just recognized his voice.· So I        15·   · · · Q.· ·So some point in the latter half of 2009?
16·   ·believed, I feel very strongly he was in that room.      16·   · · · A.· ·Yes.· Maybe like September, August.
17·   · · · Q.· ·As best as you can recall, what -- he made a   17·   · · · Q.· ·In dealing with Irene and putting together
18·   ·comment along what lines?· I'm not asking for the        18·   ·your declaration, did you ask her to verify whether
19·   ·exact language he used, but along what lines did he      19·   ·Donald Trump was participating in that conversation?
20·   ·make a comment?                                          20·   · · · A.· ·No, I didn't.
21·   · · · A.· ·Something about you enjoyed the mentorship,    21·   · · · Q.· ·Did she mention anything to you about that
22·   ·you had fun, you liked coming to Florida.· Because       22·   ·aspect of the declaration?
23·   ·one of the questions where -- was why did I come to      23·   · · · A.· ·No.
24·   ·Florida when they strongly -- when they recommend        24·   · · · Q.· ·Did you discuss it at all?
25·   ·buying in your area.                                     25·   · · · A.· ·No.

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·1·   · · · · · ·MR. FORGE:· That declaration is Exhibit 2.     ·1·   · · · A.· ·-- in California as part of this.
·2·   ·Let me show you what I've marked as Exhibit 2-A,         ·2·   · · · Q.· ·Do you recall discussing that with Irene at
·3·   ·which is an earlier draft.                               ·3·   ·all?
·4·   · · · · · ·(The document referred to was marked           ·4·   · · · A.· ·You know, I don't even remember that.· No.
·5·   · · · · · ·by the CSR as Deposition Exhibit 2-A           ·5·   · · · Q.· ·And as you -- you might --
·6·   · · · · · ·for identification and attached to the         ·6·   · · · A.· ·I did meet -- no, I didn't.· I don't
·7·   · · · · · ·deposition transcript hereto.)                 ·7·   ·remember -- I was trying to think if I ever did, and
·8·   · · · · · ·MR. LUSBY:· Do you have an extra copy?         ·8·   ·I don't recall.· Ever.
·9·   · · · · · ·MR. FORGE:· Yes.                               ·9·   · · · Q.· ·Also, if you look in the first page and just
10·   · · · · · ·MR. SCHNEIDER:· What's the Bates number?       10·   ·compare the paragraph 5 with Exhibit 2, which is the
11·   · · · · · ·MR. FORGE:· It's 53140053.                     11·   ·signed version, and paragraph 5 in Exhibit 2-A, which
12·   · · · · · ·MR. SCHNEIDER:· Thank you.                     12·   ·is the draft, you can see -- and I think you have 2
13·   ·BY MR. FORGE:                                            13·   ·next to you, Ms. Levand, if you --
14·   · · · Q.· ·Now, in this version, if you look,             14·   · · · A.· ·Oh, I was reading this.· I don't even
15·   ·Ms. Levand, at the second page, paragraph 11, the        15·   ·remember this one.
16·   ·start of that paragraph says (reading:)                  16·   · · · · · ·MR. LUSBY:· Apparently a prior draft that
17·   · · · · · · · ·I did meet Donald J. Trump at a            17·   ·you marked up.
18·   · · · · · ·seminar in California as part of my            18·   ·BY MR. FORGE:
19·   · · · · · ·Trump Entrepreneur Initiative                  19·   · · · Q.· ·The only thing I'm -- Exhibit 2 is the one
20·   · · · · · ·experience.                                    20·   ·to your right still.· You're looking at --
21·   · · · · · ·Was that -- this is not a signed               21·   · · · · · ·MR. LUSBY:· It'll say "2" in the corner.
22·   ·declaration.· Let me just --                             22·   ·BY MR. FORGE:
23·   · · · A.· ·I know.· I don't remember meeting Donald       23·   · · · Q.· ·Right.· There you go.
24·   ·Trump at a seminar --                                    24·   · · · · · ·So if you flip to compare paragraph 5, and
25·   · · · Q.· ·Okay.                                          25·   ·specifically now we're talking about the top of
                                                     Page 108                                                          Page 109
·1·   ·page 3, the portion that talks about the conference      ·1·   ·or?
·2·   ·call.                                                    ·2·   · · · · · ·Go ahead.
·3·   · · · A.· ·(Document viewed by the witness.)              ·3·   · · · A.· ·No, go ahead.· What?
·4·   · · · Q.· ·I just want to know if you recall whether      ·4·   · · · Q.· ·That was it.· That was the end of the
·5·   ·the language about that conference, the telephone        ·5·   ·question.· Did she say anything to you along the
·6·   ·conference including Donald Trump, was that language     ·6·   ·lines of, I don't believe Mr. Trump was on that call?
·7·   ·you added or was that language Irene added?              ·7·   · · · A.· ·I don't recall her saying that, no.
·8·   · · · A.· ·No, that was me.· That was me.                 ·8·   · · · Q.· ·Did she say -- did she offer to -- I could
·9·   · · · Q.· ·And I think you said this, I apologize if      ·9·   ·check Donald Trump's calendar to see if that
10·   ·you didn't, and it's not something that Irene            10·   ·conference call is on his calendar?
11·   ·mentioned to you at all?                                 11·   · · · A.· ·No, she didn't.· It wasn't -- I don't even
12·   · · · A.· ·No.· I don't even know if she was part of      12·   ·remember us talking about that.
13·   ·the Trump team at that point.                            13·   · · · Q.· ·This call that you had, do you recall
14·   · · · Q.· ·Back then, you mean, when the conference       14·   ·whether it would have been a weekday or a weekend?
15·   ·call occurred?                                           15·   · · · A.· ·I'm sure it wasn't a weekend.· It was a
16·   · · · A.· ·Right.                                         16·   ·weekday.
17·   · · · Q.· ·But she was clearly part of the Trump team     17·   · · · Q.· ·All right.· And the property we're talking
18·   ·when the two of you were putting together your           18·   ·about is the same property referred to in paragraph 5
19·   ·declaration?                                             19·   ·of that -- of Exhibit 2?
20·   · · · A.· ·Right.· Oh, yes.· But what I'm saying is I     20·   · · · · · ·MR. LUSBY:· The Florida property?
21·   ·don't -- I didn't know her until the declaration.        21·   ·BY MR. FORGE:
22·   · · · Q.· ·And she didn't say anything to you along the   22·   · · · Q.· ·The Florida property?
23·   ·lines of --                                              23·   · · · A.· ·Yes.
24·   · · · A.· ·You know --                                    24·   · · · Q.· ·Okay.· So where it says in the second
25·   · · · Q.· ·-- I don't think Mr. Trump was on that call    25·   ·sentence (reading:)

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·1·   · · · · · · · ·I purchased a single family                ·1·   ·me -- and he told me -- he gave me Trump -- advised
·2·   · · · · · ·property in Florida for $35,000 and            ·2·   ·Troy Peterson to be my mentor.
·3·   · · · · · ·flipped it in December for $60,000.            ·3·   · · · Q.· ·I -- I --
·4·   · · · · · ·Did you discuss at all with Irene whether or   ·4·   · · · A.· ·To take the place of Mike Dubin.
·5·   ·not, for sake of completeness, she should include the    ·5·   · · · Q.· ·I understand that was a better experience
·6·   ·information about how much you put into the property?    ·6·   ·for you?
·7·   · · · A.· ·No.· I had learned that when you're speaking   ·7·   · · · A.· ·Yes.
·8·   ·about real estate, and this is what I learned from an    ·8·   · · · Q.· ·Did you pay -- did you have to pay anything
·9·   ·investment club in Colorado, that that's how you         ·9·   ·more for the --
10·   ·talk.· Market value.· You bought it for this and you     10·   · · · A.· ·No.
11·   ·bought it -- you sold it for that.                       11·   · · · Q.· ·-- Troy Peterson mentorship?
12·   · · · Q.· ·Did you tell Irene the details?· Even though   12·   · · · A.· ·No, not to take care of this property.
13·   ·it's not in the declaration, did you tell --             13·   · · · Q.· ·Okay.· Did you -- after that property was
14·   · · · A.· ·No.                                            14·   ·taken care of, then did you pay to continue with the
15·   · · · Q.· ·-- her the details about the property?         15·   ·Mike Peterson [sic] mentorship?
16·   · · · A.· ·No.                                            16·   · · · A.· ·I went to a --
17·   · · · Q.· ·Did she ask?                                   17·   · · · · · ·THE DEPOSITION OFFICER:· I'm sorry.· You
18·   · · · A.· ·I don't believe so.                            18·   ·said Mike Peterson.
19·   · · · Q.· ·So after you raised your concerns with this    19·   · · · · · ·MS. HENSEN:· You mean Troy.
20·   ·property and Mr. Dubin as your mentor, what, if          20·   · · · · · ·MR. LUSBY:· Troy Peterson.
21·   ·anything, did the people from the Trump team do in       21·   ·BY MR. FORGE:
22·   ·response?                                                22·   · · · Q.· ·Troy Peterson.· I'm sorry.· I apologize.
23·   · · · A.· ·They told me I could talk to Jason Schaur,     23·   · · · A.· ·I went on another -- I went on a group
24·   ·who I was talking with.· I didn't know what I could      24·   ·mentorship in Arizona.
25·   ·say to him and what I couldn't.· And they assigned       25·   · · · Q.· ·How much was that?
                                                     Page 112                                                          Page 113
·1·   · · · A.· ·Ten.                                           ·1·   ·borrowing money, but I would have liked to have had
·2·   · · · · · ·THE WITNESS:· This is why I don't have any     ·2·   ·both.· And I had a good experience, but...
·3·   ·money.· I'll be paying you the rest of my life.          ·3·   · · · Q.· ·When you said you would have liked to have
·4·   · · · · · ·MR. LUSBY:· I'll be calling you with real      ·4·   ·both, what do you mean?
·5·   ·estate questions.                                        ·5·   · · · A.· ·I wanted that property and the one I got in
·6·   ·BY MR. FORGE:                                            ·6·   ·Arizona.
·7·   · · · Q.· ·After the group mentorship, what, if           ·7·   · · · Q.· ·Okay.· So you didn't -- you didn't buy the
·8·   ·anything, was your next program through Trump            ·8·   ·one in Colorado?
·9·   ·University?                                              ·9·   · · · A.· ·I didn't go through with it.
10·   · · · A.· ·Well, actually, there was another program --   10·   · · · Q.· ·And you mentioned you took his word
11·   · · · Q.· ·In between?                                    11·   ·seriously.· Again, "his" being Donald Trump?
12·   · · · A.· ·-- before that one.                            12·   · · · A.· ·I'm sorry.· Yes.
13·   · · · Q.· ·What was between?                              13·   · · · Q.· ·Okay.· And those words being?
14·   · · · A.· ·I was very active.                             14·   · · · A.· ·I meant the video that you just showed.
15·   · · · Q.· ·Yes.                                           15·   · · · Q.· ·Okay.
16·   · · · A.· ·I took -- I took his word seriously.           16·   · · · A.· ·I was trying to add a little humor.
17·   · · · Q.· ·All right.· What was the next one?             17·   · · · Q.· ·That's always dangerous.
18·   · · · A.· ·I went on a mentorship with Steve Miller.      18·   · · · A.· ·I know.· I guess so.
19·   · · · Q.· ·How much was that?                             19·   · · · Q.· ·Okay.· I believe I saw, and I can dig it out
20·   · · · A.· ·And it was 15.· And it was in Fort Collins.    20·   ·for you if you want it, in one of the e-mail
21·   · · · Q.· ·Is that Colorado?                              21·   ·exchanges you had with Irene you mentioned something
22·   · · · A.· ·Yes.                                           22·   ·to the effect of that you knew you'd be backed by
23·   · · · Q.· ·How was that?                                  23·   ·Donald Trump as a student.
24·   · · · A.· ·It was great.· And I met a lot of people.      24·   · · · · · ·Does that ring -- is that --
25·   ·If I had more -- I didn't -- I don't feel comfortable    25·   · · · A.· ·It could have been because of what I was

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·1·   · · · · · ·Do you need a break?                           ·1·   · · · · · ·told her yes.· She repeated her
·2·   · · · A.· ·No, I'm okay.                                  ·2·   · · · · · ·question, they didn't pay you
·3·   · · · Q.· ·I'd like to ask you to look at the second      ·3·   · · · · · ·$25,000?· I told her no.· I paid
·4·   ·page of the declaration.· Paragraph 9, which is at       ·4·   · · · · · ·$25,000.
·5·   ·the bottom, the second line states (reading:)            ·5·   · · · · · ·Is that an accurate account of the
·6·   · · · · · · · ·The person said she was calling            ·6·   ·conversation that you had?
·7·   · · · · · ·from Trump University, and that she            ·7·   · · · A.· ·Yeah.
·8·   · · · · · ·had a few questions for me and asked           ·8·   · · · Q.· ·Did you understand what the gist of why she
·9·   · · · · · ·if I had a few minutes to talk with            ·9·   ·was asking -- whoever the woman was on the call, why
10·   · · · · · ·her.                                           10·   ·she was -- well, let me back up.
11·   · · · · · ·Do you see that sentence?                      11·   · · · · · ·Did you have the impression that she was
12·   · · · A.· ·Yes.                                           12·   ·trying to persuade you to say that you had -- that
13·   · · · Q.· ·And at the time you prepared this, was that    13·   ·Trump had paid you $25,000?
14·   ·accurate?                                                14·   · · · · · ·MR. FORGE:· Objection; foundation and form.
15·   · · · A.· ·Yes.                                           15·   · · · · · ·THE WITNESS:· I did.· I did expect -- I did
16·   · · · Q.· ·And the next line says (reading):              16·   ·think that that's what I was being asked.· And I
17·   · · · · · · · ·The questions were similar to the          17·   ·didn't know what I had said in -- in my declaration.
18·   · · · · · ·previous call.· I was asked if I               18·   ·Because I still thought it was from Trump University
19·   · · · · · ·received $25,000 from Trump                    19·   ·representative, and I didn't know what I said in the
20·   · · · · · ·University, and I told her no.· She            20·   ·first declaration that led the person to think that I
21·   · · · · · ·seemed surprised and asked what I              21·   ·was paid 25,000.
22·   · · · · · ·paid for the program.· I tried to              22·   ·BY MR. SCHNEIDER:
23·   · · · · · ·remember and told her I thought I              23·   · · · Q.· ·It seemed very strange to you?
24·   · · · · · ·paid $25,000.· She stated, you                 24·   · · · A.· ·Yes.
25·   · · · · · ·enrolled into the elite program.· I            25·   · · · Q.· ·In the broadest sort of most general sense
                                                     Page 168                                                          Page 169
·1·   ·possible, can you tell us what the issue with the        ·1·   · · · · · ·MR. LUSBY:· There's not really a question
·2·   ·Tracy property is?· I don't want any details.· I just    ·2·   ·pending.· So I don't think it has any relevance.
·3·   ·want to know sort of very generally if it's in a bad     ·3·   · · · · · ·THE WITNESS:· Okay.
·4·   ·neighborhood --                                          ·4·   · · · · · ·MR. LUSBY:· I would just leave it go.
·5·   · · · · · ·MR. LUSBY:· Off the record.                    ·5·   · · · · · ·THE WITNESS:· All right.
·6·   · · · · · ·MR. SCHNEIDER:· That's fine.                   ·6·   · · · · · ·MR. LUSBY:· You can tell him anything you
·7·   · · · · · ·THE DEPOSITION OFFICER:· Off the record,       ·7·   ·want after we're done.
·8·   ·everybody agree?                                         ·8·   ·BY MR. SCHNEIDER:
·9·   · · · · · ·MR. FORGE:· Sure.                              ·9·   · · · Q.· ·You were asked about your expectations
10·   · · · · · ·(Off-the-record discussion.)                   10·   ·concerning Donald Trump's involvement.· And I think
11·   ·BY MR. SCHNEIDER:                                        11·   ·the analogy that counsel asked you about was, in your
12·   · · · Q.· ·We took just a moment off the record and       12·   ·teaching profession, that you would anticipate that
13·   ·your counsel was kind enough to explain generally        13·   ·Donald Trump would be the superintendent.
14·   ·what was going on with the Tracy properties.             14·   · · · · · ·I gather that you meant that he's sort of
15·   · · · · · ·Is it a fair characterization to say that      15·   ·sitting at the proverbial 10,000 feet for the
16·   ·whatever issues or problems you were dealing with        16·   ·program.· Is that a fair assessment?
17·   ·concerning the Tracy properties, it has nothing to do    17·   · · · · · ·MR. FORGE:· Objection to form.
18·   ·with information or training that you received from      18·   · · · · · ·THE WITNESS:· The superintendent operates
19·   ·Trump University?                                        19·   ·the schools that are in, he's responsible.· If
20·   · · · A.· ·No.                                            20·   ·there's a complaint, they go to the principal or the
21·   · · · Q.· ·Is that correct?                               21·   ·superintendent, depending, or both.
22·   · · · A.· ·Yes.· Well, you know what?· Should I say off   22·   ·BY MR. SCHNEIDER:
23·   ·the record --                                            23·   · · · Q.· ·All right.· So day-to-day operations, were
24·   · · · · · ·MR. LUSBY:· We're on the record, so...         24·   ·you expecting to see Donald Trump at the registration
25·   · · · · · ·THE WITNESS:· Okay.· Should I say that --      25·   ·table signing people in?

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·1·   ·know.· I get it.· And I was jealous.· I mean, I knew     ·1·   ·more -- that was his -- he was more hands-on and that
·2·   ·that it was a new area for me, business is a new area    ·2·   ·he was hand picking the instructors.· And that's what
·3·   ·for me.· And so I don't know if I put -- I don't         ·3·   ·I remember.
·4·   ·know.· But anyway, she got it.· But it was like, I       ·4·   · · · Q.· ·And for you, was that -- was that worth a
·5·   ·get it.· It wasn't like it was too elementary for        ·5·   ·premium in terms of what you were willing to pay for
·6·   ·her.                                                     ·6·   ·that?
·7·   · · · · · ·MR. SCHNEIDER:· I think that's all I have,     ·7·   · · · A.· ·Evidently I was.
·8·   ·Ms. Levand.· Thank you for your time.                    ·8·   · · · Q.· ·Were you told, at the time when you were
·9·   · · · · · ·THE WITNESS:· Okay.· Thank you.                ·9·   ·signing these declarations, how they were going to be
10                                                              10·   ·used?
11·   · · · · · · · · · · · EXAMINATION                         11·   · · · A.· ·I'm sure.· I'm sure I was.
12·   ·BY MR. FORGE:                                            12·   · · · Q.· ·What, if anything, do you recall you were
13·   · · · Q.· ·Ms. Levand, you mentioned that James Harris    13·   ·told about how these declarations would be used?
14·   ·as the individual who was responsible for you            14·   · · · A.· ·In the litigation.
15·   ·transferring from Trump Institute to Trump               15·   · · · Q.· ·How so in the litigation?
16·   ·University?                                              16·   · · · A.· ·I don't know.· Just in litigation.· Because
17·   · · · A.· ·Yeah, I have to say he was.                    17·   ·there's -- I had heard that there was a class action
18·   · · · · · ·THE DEPOSITION OFFICER:· I'm sorry?            18·   ·suit.
19·   · · · · · ·THE WITNESS:· Yes, he was.                     19·   · · · Q.· ·In the context of your communications with
20·   ·BY MR. FORGE:                                            20·   ·Irene or Mark or anybody else from Trump-related
21·   · · · Q.· ·What is it that he said to you that            21·   ·entities, did anyone ever tell you that you were a
22·   ·convinced you that you were looking more for Trump       22·   ·potential member of the class suing?
23·   ·University than Trump Institute?                         23·   · · · A.· ·No.· I had a former fellow student call me.
24·   · · · A.· ·I don't recall exact words.· He was just       24·   · · · Q.· ·Did anyone on the Trump side of the house
25·   ·explaining the Trump University.· Mr. Trump was          25·   ·ever tell you that as a potential class member you
                                                     Page 180                                                          Page 181
·1·   ·could potentially receive a portion of any recovery      ·1·   ·were -- there was a play book for the instructors to
·2·   ·in the case?                                             ·2·   ·use?
·3·   · · · A.· ·No.                                            ·3·   · · · A.· ·A play book?
·4·   · · · Q.· ·Did they ever tell you that the declaration    ·4·   · · · Q.· ·Yes.
·5·   ·would be used in a way to prevent students from          ·5·   · · · A.· ·No.· I don't...
·6·   ·recovering money in the case?                            ·6·   · · · Q.· ·Did they ever tell you that the instructors
·7·   · · · A.· ·None of that information was talked about or   ·7·   ·had been told that if all Trump U team members are
·8·   ·I wasn't told anything.                                  ·8·   ·following these procedures, it will greatly improve
·9·   · · · · · ·MR. SCHNEIDER:· Let me interpose a late        ·9·   ·our chances to sell elite packages?
10·   ·objection that that's incorrect, that the declaration    10·   · · · A.· ·Would you -- I'm sorry.
11·   ·would be used in a way to prevent people from getting    11·   · · · Q.· ·Sure.· Did anyone associated with Trump ever
12·   ·a refund.                                                12·   ·disclose to you that as part of that play book the
13·   · · · · · ·THE DEPOSITION OFFICER:· I'm sorry, the last   13·   ·instructors were told that if all Trump U team
14·   ·part?                                                    14·   ·members are following these procedures, it will
15·   · · · · · ·MR. SCHNEIDER:· That's inaccurate that the     15·   ·greatly improve our chances to sell elite packages?
16·   ·declaration would be used in a way to prevent people     16·   · · · A.· ·No.· And I don't under -- I don't know what
17·   ·from getting a refund.                                   17·   ·you're talking about.· I'll have to say no.
18·   · · · · · ·MR. FORGE:· Was there a legal objection        18·   · · · · · ·MR. SCHNEIDER:· I'll join.
19·   ·there?                                                   19·   ·BY MR. FORGE:
20·   · · · · · ·MR. SCHNEIDER:· That your question is          20·   · · · Q.· ·Did anyone ever disclose to you that the
21·   ·improper.· It assumes facts not in evidence,             21·   ·instructors at these three-day seminars were given
22·   ·misleading.                                              22·   ·certain phrases to use with the students to try to
23·   ·BY MR. FORGE:                                            23·   ·entice students to spend more money?
24·   · · · Q.· ·Were you aware -- did anybody ever tell you,   24·   · · · A.· ·No.
25·   ·Ms. Levand, that at these three-day seminars there       25·   · · · · · ·MR. SCHNEIDER:· Objection; assumes facts not

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                                                                   ·1· ·STATE OF CALIFORNIA· · · )
·1·   · · · · · DECLARATION UNDER PENALTY OF PERJURY               · · · · · · · · · · · · · · · ) ss.
                                                                   ·2· ·COUNTY OF LOS ANGELES· · )
·2
                                                                   ·3
·3·   · · · I, PAULA LEVAND, do hereby certify under penalty
                                                                   ·4· · · · I, NIKKI ROY, Certified Shorthand Reporter,
·4·   ·of perjury that I have read the foregoing transcript
                                                                   ·5· ·certificate number 3052, for the State of California,
·5·   ·of my deposition taken June 17, 2013; that I have
                                                                   ·6· ·hereby certify:
·6·   ·made such corrections as appear noted herein, in ink,
                                                                   ·7· · · · The foregoing proceedings were taken before me
·7·   ·initialed by me; that my testimony as contained
                                                                   ·8· ·at the time and place therein set forth, at which
·8·   ·herein, as corrected, is true and correct.
                                                                   ·9· ·time the deponent was placed under oath by me;
·9
                                                                   10· · · · The testimony of the deponent and all objections
10·   · · · DATED this _______ day of ________________,
                                                                   11· ·at the time of the examination were recorded
11·   ·2013, at _____________________, California.
                                                                   12· ·stenographically by me and were thereafter
12
                                                                   13· ·transcribed;
13
                                                                   14· · · · The foregoing transcript is a true and correct
14
                                                                   15· ·transcript of my shorthand notes so taken;
15
                                                                   16· · · · I further certify that I am neither counsel for
16
                                                                   17· ·nor related to any party to said action nor in any
17
                                                                   18· ·way interested in the outcome thereof.
18
                                                                   19· · · · In witness whereof I have hereunto subscribed my
19
                                                                   20· ·name this 19th day of June, 2013.
20·   · · · · · · · · · · ___________________________
                                                                   21
21·   · · · · · · · · · · · · · ·PAULA LEVAND
                                                                   22· · · · · · · · · ________________________________
22
                                                                   23· · · · · · · · · · · NIKKI ROY, CSR # 3052
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           EXHIBITS 148-153
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